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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
W. R. GRACE & CO., et al.,’ ) Case No. 01-1139 (JJF) 2
) Jointly Administered a
Debtors. )

CERTIFICATION OF NO OBJECTION
REGARDING DOCKET NO. 10

The undersigned hereby certifies that, as of the date hereof, he has received no
answer, objection or other responsive pleading to the Application by the Debtors for Entry of an
Order Pursuant to 11 U.S.C. §327(a) and Fed. R. Bankr. P. 2014(a) Authorizing the Employment
and Retention of Kirkland and Ellis as Attorneys for the Debtors and Debtors in Possession (the
“Application” filed on April 2, 2001. The undersigned further certifies that he has reviewed the
Court’s docket in this case and no answer, objection or other responsive pleading to the
Application appears thereon. Pursuant to the Notice of Application, objections to the

Application were to be filed and served no later than April 18, 2001 at 4:00 p.m.

' The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/k/a
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food "N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association,
Inc.), Remedium Group, Inc. (f/k/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross
Country Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.

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It is hereby respectfully requested that the Order attached to the Application be

entered at the earliest convenience of the Court.

Dated: May _| , 2001 :
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and

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Proposed Co-Counsel to Debtors and Debtors-in-
Possession

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

W.R. GRACE & CO., et al., Case No. 01-1139 (JJF)

Jointly Administered

Debtors.

AFFIDAVIT OF SERVICE

Linda M. Bendlin , being duly sworn according to law, deposes and says that she
is employed by the law firm of Pachulski, Stang, Ziehl, Young & Jones P.C. and that on the 1°,
day of May, 2001 she caused a copy of the following documents to be served upon the following

service list in the manner indicated:

1. Certification of No Objection Regarding Docket No. 10

LiftaM. Bendlin-  /

Sworn to and subscribed before
me this 1". day of May, 2001

Notary Public —

My Cornmission Expires: Lie, Lb

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W.R. Grace & Company

Certificates of No Objection Service List
Case No. 01-1139 (JJF)

May 1, 2001

05 - Hand Delivery

03 - Federal Express

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